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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ALEXCIA PATTON,                    )
                                   )
                      Plaintiff,   )                 No. 15 C 10277
                                   )
            v.                     )                 Judge Robert M. Dow, Jr.
                                   )                 Magistrate Judge Daniel G. Martin
CITY OF CHICAGO,                   )
JOHN D. SANDOVAL, JOSE L. DURAN,   )
SHAWN P. ALONZO,                   )
MARCOS BOCANEGRA,                  )
DANIEL C. HONDA, MIGUEL A. ROMERO, )
DAVID LOPEZ, TODD M. OLSEN,        )
LUIS A. LOAIZA, GERMAN J. VAZQUEZ, )
ANGELO MANDILE,                    )
ANGELO C. VELAZQUEZ,               )
ANGELO P. RAMUNDO,                 )
                                   )
                      Defendants.  )

                                 STIPULATION TO DISMISS

       NOW COMES the Plaintiff, Alexcia Patton, by and through her attorneys at Jackowiak

Law Offices, and by stipulation of all parties, hereby dismisses all claims against all Defendants

without prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.



 Respectfully submitted,                        Stipulated by,

 /s/ Amanda S. Yarusso                          /s/ Brendan Moore
 Counsel for the Plaintiff                      Counsel for the Defendants

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